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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

Vv. Criminal No. 4:15-cr-0564-S3
18 U.S.C. 922(g)(1)

18 U.S.C. § 924(c)(1)(A)

18 U.S.C. § 924q)q1)

MARGIL REYNA, JR.
also known as Mikeo

LUIS ALBERTO TELLO 18 U.S.C. § 1201(a)(1)
also known as Wicho 18 U.S.C. § 1951(a)
MIKE BUENO 18 U.S.C. § 1959(a)(1)

18 U.S.C. § 1962(d)
21 U.S.C. § 841(a)(1)
21 U.S.C. § 846

also known as Mocho
ARTURO RAMIREZ, JR.
also known as China

JOSE ROLANDO GONZALEZ
also known as Rollie
EDUARDO HERNANDEZ
also known as Lepo
HIPOLITO GONZALEZ
also known as Pollie
ROLANDO CRUZ

also known as Party

JESUS SILVA

also known as Bola
OCTAVIO MUNIZ

also known as Tavo
ROBERTO CORTEZ

also known as Robe
ROBERTO REYES

also known as Pelon
RAMON DE LA CERDA
also known as Gizmo
SALOMON ROBLES
JUAN MARQUEZ

also known as La Gallina
RIGOBERTO GARCIA
also known as Chato

JUAN ALBERTO MENDEZ
also known as A-1
ADRIAN GARZA

United States District Court
Southem District of Texas

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THIRD SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
(Conspiracy to Participate in Racketeering Activity)

THE RACKETEERING ENTERPRISE

At all times relevant to this Third Superseding Indictment:

1. Defendants Margil REYNA, Jr. aka Mikeo, Luis Alberto TELLO aka Wicho, Mike
BUENO aka Mocho, Arturo RAMIREZ, Jr. aka China, Jose Rolando GONZALEZ aka Rollie,
Eduardo HERNANDEZ aka Lepo, Hipolito GONZALEZ aka Pollie, Rolando CRUZ aka Party,
Jesus SILVA aka Bola, Octavio MUNIZ aka Tavo, Roberto CORTEZ aka Robe, Ramon DE LA
CERDA aka Gizmo, Salomon ROBLES, Juan Alberto MENDEZ aka A-1, Adrian GARZA and
others were members and associates of a criminal organization known as the Tri-City Bombers
whose members and associates engaged in: (a) the illegal trafficking of cocaine, marijuana,
methamphetamine and heroin; (b) the laundering of drug proceeds; (c) interference with commerce
by robbery; and (d) acts of violence, including murder, attempted murder, robbery, aggravated
assaults, kidnapping and other crimes within the Southern District of Texas and elsewhere.

2. The Tri-City Bombers criminal organization, including its leadership, members and
associates, constituted an “enterprise” as defined by Title 18, United States Code, § 1961(4) (‘the
Enterprise”), that is, a group of individuals associated in fact that was engaged in and the activities
of which affected interstate and foreign commerce. The Enterprise constituted an ongoing
organization whose members functioned as a continuing unit for a common purpose of achieving
the objectives of the Enterprise.

3. In the early 1980s, young men from Lopezville, Texas, a small predominately-Hispanic
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area in the South Texas border area, formed a street football team called the “Lopezville Bombers.”
At the same time, young men from the nearby town of Pharr, Texas formed a break dancing group
called the “Tri-City Poppers.”

4. In the mid-1980s, the Lopezville Bombers and Tri-City Poppers merged and became the
Tri-City Bombers. In the early days, the Tri-City Bombers would get together and associate to play
pickup football games against teams from nearby cities. Over time local law enforcement began
to notice an increase in fights after football games and due to the nature of these violent
altercations, the Tri-City Bombers developed a reputation as a tough group of young men.

5. In the late 1980s, the Tri-City Bombers evolved into a gang with a defined leadership
structure, colors, tattoos and rules. The Tri-City Bombers organization include titles such as
President, Vice-President, General, Major, Captain, Lieutenant, Sergeant, “Carnal” (Brother) and
“Prospecto” (Prospect).

6. In the early 1990s, the Tri-City Bombers split into two factions: Tri-City Bombers and
the Texas Chicano Brotherhood. The split resulted in a wave of violence in the area of Pharr, San
Juan and Alamo, Texas.

7. An individual wanting to become a member of the Tri-City Bombers is a “‘Prospecto”
(Prospect). To become a member, the “Prospecto” must have a “Padrino” (Godfather) to vouch for
him as being worthy of becoming a full-fledged member. Once a “Prospecto” becomes a member,
he is referred to as a “Carnal” (Brother).

8. The Tri-City Bombers adopted black and red as its colors and tattoo the following on
their bodies: the letters “TCB”, a 1939 Chevy Bomb car, the number “39”, a Cherry bomb, a
necklace tattoo made of small bombs, or three high-rise buildings or three-point crown to represent

the Tri-City area, that being, Pharr, San Juan and Alamo, Texas.
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9. The rules of the Tri-City Bombers include, among others: membership for life;
brotherhood before anything else; never cooperate with law enforcement; obey orders of superiors;
pay a monthly fee to the Enterprise; give 10% of any criminal earnings to the Enterprise; and never
disrespect the Tri-City Bombers family.

10. The consequences for violating the rules included severe beating, known as a
“disiplina” (discipline), to being “‘x-out” (marked for murder).

11. The Enterprise had a hierarchy for making decisions. The leaders of the Enterprise had
such titles as President, Vice-President, General, Major, Captain, Lieutenant and Sergeant. The
leaders determined whether members violated the rules and the punishment for any violation.

12. The Enterprise’s strict set of rules ensured loyalty and participation in criminal
activities. It was common for an Enterprise member to demonstrate his loyalty by taking
responsibility for a crime in order to shield a member with superior rank from criminal
responsibility.

13. The Enterprise members maintained regular communications with their members who
are in prison. Such communications are often through letters or telephone calls. The Enterprise
members use coded language to mislead law enforcement officers as to the true message contained
in the letters and telephone calls.

14. The Enterprise members maintain regular communications with each other through
regular meetings and telephone calls. In communications over cellular telephones, the Enterprise
members use coded language when they discussed any criminal activity. For instance, when
discussing controlled substances they referred to cocaine as “white” and to marijuana as “green”.
They referred to high quality marijuana as “popcorn”, drug proceeds as “paper” or “coin” and the

transportation of controlled substances as a “ride” or “trip”. Furthermore, they referred to cities
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such a Donna, Texas as “Ghost Town” and Houston, Texas as “H”’.

15. The Enterprise uses its power to create fear and intimidation that shields its members
from criminal responsibility, ensures the timely payment of drug debts and prevents the theft of
members’ money or drugs. Violent retribution is an important activity of the Enterprise. Such
violent retribution helps enforce loyalty to the Enterprise that is necessary to the smooth running
of its criminal activities.

16. Although the Enterprise began in the South Texas area, its members and criminal
activities are not limited to that geographical area. In fact, Enterprise members live across Texas
as well as in Georgia, Oklahoma, Missouri, Indiana, South Dakota and other states where they
continued to engage in criminal activity.

THE PURPOSES OF THE ENTERPRISE

17. The purposes of the Enterprise included the following:

a. maintaining a powerful organization that protects its members and associates
from rival criminal organizations, those disloyal to the Enterprise or those who
lost or stole the Enterprise’s controlled substances;

b. enriching its members and associates through criminal activity which includes,
the illegal distribution of controlled substances and other criminal acts;

c. preserving and protecting its power, territory and profits through the use of
intimidation, violence and threats of violence; and

d. keeping rival gangs, potential informants, potential cooperating defendants,
witnesses, law enforcement and the public-at-large in fear of the Enterprise
through violence and threats of violence.

18. The Enterprise members act to protect each other and to build a strong organization
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through intimidation and violence against outsiders and through strict and harsh discipline of its

members and associates who violate its rules.

THE DEFENDANTS

19. The Enterprise members and associates had the following roles:

I.

Margil REYNA, Jr. aka Mikeo (““REYNA”) was a member involved in
trafficking controlled substances, laundering monetary instruments and in the
commission of violent crimes. REYNA participated in breaking into a home to
steal controlled substances that resulted in the death of an individual.

Luis Alberto TELLO aka Wicho (“TELLO”) was an associate involved in
trafficking controlled substances and in the commission of violent crimes.
TELLO participated in breaking into a home to steal controlled substances that
resulted in the death of an individual.

Mike BUENO aka Mocho (“BUENO”) was a member with a rank of Major
involved in trafficking controlled substances, laundering drug proceeds and in
the commission of violent crimes. BUENO participated in breaking into a home
to steal marijuana that resulted in the death of an individual. BUENO also
directed the enforcement of the Enterprise rules and the collection of the
membership fees.

Arturo RAMIREZ, Jr. aka China (“RAMIREZ”) was a member with the rank
of Sergeant involved in trafficking controlled substances, laundering drug
proceeds and in the commission of violent crimes. RAMIREZ participated in
the storing, packaging and transportation of controlled substances to various

cities across the United States.
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5. Jose Rolando GONZALEZ aka Rollie (“J. GONZALEZ”) was a member with
the rank of Captain involved in trafficking controlled substances, laundering
drug proceeds and in the commission of violent crimes. J. GONZALEZ
participated in directing and coordinating the storage, packaging and
transportation of controlled substances to various cities across the United
States. J. GONZALEZ also participated in the attempted murder of an
individual suspected of having stolen marijuana from an associate of the
Enterprise.

6. Eduardo HERNANDEZ aka Lepo (“HERNANDEZ”) was a member with the
rank of Lieutenant involved in trafficking controlled substances, laundering
drug proceeds and in the commission of violent crimes. HERNANDEZ
participated in the storing, packaging and transportation of controlled
substances to various cities across the United States.

7. Hipolito GONZALEZ aka Pollie (“H. GONZALEZ”) was an associate
involved in trafficking controlled substances and laundering drug proceeds. H.
GONZALEZ coordinated the storage, packaging and transportation of
controlled substances to various cities across the United States as well as the
transportation of the drug proceeds back to the Rio Grande Valley of Texas.

8. Rolando CRUZ aka Party (“CRUZ”) was a member with the rank of Captain
involved in trafficking controlled substances and laundering drug proceeds.
CRUZ coordinated the storage, packaging and transportation of controlled
substances to various cities across the United States as well as the transportation

of the drug proceeds back to the Rio Grande Valley of Texas.
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Jesus SILVA aka Bola (“SILVA”) was a member with the rank of Sergeant
involved in trafficking controlled substances, laundering drug proceeds and in
the commission of violent crimes. SILVA participated in sending controlled
substances in the United States mail to various cities across the United States
as well as the drug proceeds back to the Rio Grande Valley of Texas.

Octavio MUNIZ aka Tavo (“MUNIZ”) was a member with the rank of Sergeant
involved in trafficking controlled substances, laundering drug proceeds and in
the commission of violent crimes. MUNIZ participated in transporting drug
proceeds from various cities across the United States to the Rio Grande Valley
of Texas. MUNIZ also participated in the attempted murder of an individual
suspected of having stolen marijuana from an associate of the Enterprise.
Roberto CORTEZ aka Robe (“CORTEZ”) was an associate involved in
trafficking controlled substances, laundering drug proceeds and in the
commission of violent crimes. CORTEZ participated in robberies by providing
the Enterprise the location where drug traffickers stored controlled substances.
Ramon DE LA CERDA aka Gizmo (“DE LA CERDA”) was a member with
the rank of General and the leader of the Enterprise outside the prison system.
DE LA CERDA participated in coordinating and directing members and
associates of the Enterprise in the trafficking of controlled substances,
laundering drug proceeds and in the commission of violent crimes. DE LA
CERDA participated in the murder of an individual suspected of having stolen
controlled substances from an associate of the Enterprise.

Salomon ROBLES (“ROBLES”) was a member involved in trafficking
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controlled substances and in the commission of violent crimes. ROBLES
participated in the murder and attempted murder of individuals suspected of
having stolen controlled substances from an associate of the Enterprise.

Juan Alberto MENDEZ aka A-1 (“MENDEZ”) was an associate involved in
the trafficking of controlled substances and in the commission of violent crimes.
MENDEZ recruited the Enterprise to commit murders and attempted murders
of individuals that he suspected stole controlled substances from him and drug
trafficking organizations.

Adrian GARZA (“GARZA”) was an associate involved in trafficking
controlled substances and in the commission of violent crimes. GARZA
participated in the murder of an individual suspected of stealing controlled

substances from an associate of the Enterprise.

THE RACKETEERING CONSPIRACY

20. Beginning on or about January 2009 and continuing to the date of this Third

Superseding Indictment, within the Southern District of Texas and elsewhere, the defendants

MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo
HIPOLITO GONZALEZ aka Pollie
ROLANDO CRUZ aka Party
JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
RAMON DE LA CERDA aka Gizmo
SALOMON ROBLES
JUAN ALBERTO MENDEZ aka A-1
and
ADRIAN GARZA
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each being a person employed by and associated with, as described in paragraphs | through 19 of
this Third Superseding Indictment, an Enterprise, the Tri-City Bombers, that was engaged in, and
the activities of which affected, interstate and foreign commerce, did knowingly and intentionally
conspire and agree together and with others known and unknown to the Grand Jury to conduct and
participate, directly and indirectly, in the conduct of the affairs of the Enterprise through a pattern
of racketeering activity, as that term is defined in Title 18, United States Code, §§ 1961(1) and
1961(5), said pattern of racketeering activity consisting of:

multiple acts indictable under:

a. Title 18, United States Code, § 1951 (interference with commerce by robbery);

multiple offenses involving:

b. Title 21, United States Code, § 846 (conspiracy to possess with intent to
distribute controlled substances and conspiracy to distribute controlled
substances);

c. Title 21, United States Code, § 841(a)(1) (possession with intent to distribute
controlled substances and distribution of controlled substances);

and multiple acts involving:

d. Murder in violation of Texas Penal Code §§ 19.02, 15.01, 15.02, 7.01 and 7.02;

e. Kidnapping in violation of Texas Penal Code §§ 20.03, 15.01, 15.02, 7.01 and
7.02; and

f. Robbery in violation of Texas Penal Code §§ 29.02, 29.03, 15.01, 15.02, 7.01
and 7.02.

21. It was further part of the conspiracy that each defendant agreed that a conspirator would

commit at least two acts of racketeering activity in the conduct of the affairs of the enterprise.

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THE MANNER AND MEANS OF THE ENTERPRISE
22. Among the manner and means used by the defendants and co-conspirators to achieve
the object of the conspiracy were the following:

a. members, associates and others engaged in criminal activities such as murder,
attempted murder, robbery, kidnapping and illegal drug trafficking to achieve
its goal of making money;

b. members met regularly to discuss and vote on important decisions that included
retaliation against rival gangs, whether a member had violated a rule and, if so,
the type and form of punishment and how to expand their illegal drug trafficking
activities;

c. members, associates and others purchased, maintained, stored and circulated
weapons and firearms for use in criminal activities;

d. members, associates and others coordinated the storage, packaging,
transportation and distribution of controlled substances to various cities across
the United States;

e. members, associates and others coordinated the storage, packaging and sending
controlled substances via the United States mail to various cities across the
United States;

f. members, associates and others coordinated stealing controlled substances from
other drug traffickers;

g. members, associates and others coordinated the receiving, packaging and
transportation of drug proceeds from various cities across the United States

back to the Rio Grande Valley of Texas;

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h.

members, associates and others coordinated the depositing of drug proceeds
into financial institutions in various cities across the United States and the
withdraw of the drug proceeds from financial institutions in the Rio Grande
Valley of Texas; and

members, associates and others used and threatened to use violence against
potential informants, cooperating defendants and witnesses.

OVERT ACTS

23. In furtherance of the conspiracy, and to achieve the objective thereof, the conspirators

performed and caused to be performed the following overt acts, among others, in the Southern

District of Texas and elsewhere:

a.

On or about July 17, 2009, Mike BUENO aka Mocho told conspirators that a
house in Edinburg, Texas contained numerous kilograms of cocaine;

On or about July 21, 2009, Jesus SILVA aka Bola told conspirators that a house
in Mission, Texas contained numerous kilograms of marijuana;

On or about July 21, 2009, Mike BUENO aka Mocho conducted surveillance
for law enforcement while conspirators broke into the house in Mission, Texas
to steal the marijuana;

On or about September 30, 2011, Arturo RAMIREZ, JR. aka China sold
cocaine to a confidential source.

On or about January 30, 2012, Roberto CORTEZ aka Robe sold cocaine to a
confidential source.

On or about April 12, 2012, Luis Alberto TELLO aka Wicho, told Joseph

Alberto Lopez that a house in Edinburg, Texas contained numerous kilograms

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of marijuana;

g. On or about April 12, 2012, Joseph Alberto Lopez, Margil REYNA, Jr. aka
Mikeo, Joshua Omar Santillan and other conspirators met at Joseph Alberto
Lopez’s house;

h. On or about April 12, 2012, Mike BUENO aka Mocho authorized Joseph
Alberto Lopez, Margil REYNA, Jr. aka Mikeo and Joshua Omar Santillan to
commit the aggravated robbery;

i. Onorabout April 12, 2012, Joshua Omar Santillan drove Joseph Alberto Lopez,
Margil REYNA, Jr. aka Mikeo and other conspirators to the house in Edinburg,
Texas;

j. Onor about April 12, 2012, Joseph Alberto Lopez, while armed with a firearm,
broke into the house in Edinburg, Texas;

k. On or about April 12, 2012, Margil REYNA, Jr. aka Mikeo, while armed with
a firearm, broke into a house in Edinburg, Texas;

1. On or about April 12, 2012, Joseph Alberto Lopez struggled with V. S. inside
the house resulting in V. S.’s death;

m. On or about April 12, 2012, Margil REYNA, Jr. aka Mikeo struggled with V.
S. inside the house resulting in V. S.’s death;

n. On or about May 3, 2012, Arturo RAMIREZ, Jr. aka China gave Eduardo
HERNANDEZ’s aka Lepo cellular telephone number to a confidential source;

o. On or about May 3, 2012, Eduardo HERNANDEZ aka Lepo sent a conspirator
to deliver cocaine to a confidential source;

p. Onorabout June 1, 2012, Arturo RAMIREZ, Jr. aka China called a confidential

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source;

q. On or about June 1, 2012, Eduardo HERNDANEZ aka Lepo delivered cocaine
to a confidential source;

r. Onorabout June 1, 2012, Arturo RAMIREZ, Jr. aka China called a confidential
source;

s. On or about June 1, 2012, Hipolito GONZALEZ aka Pollie gave heroin to
Arturo RAMIREZ, Jr. aka China;

t. On or about June 29, 2012, Arturo RAMIREZ, Jr. aka China called a
confidential source;

u. On or about June 29, 2012, Hipolito GONZALEZ aka Pollie gave heroin to
Arturo RAMIREZ, Jr. aka China;

v. On or about July 15, 2012, Jose Rolando GONZALEZ aka Rollie recruited
Ernesto Saenz to transport marijuana from the Rio Grande Valley of Texas to
the Dallas, Texas area.

w. On or about July 15, 2012, Rolando CRUZ aka Party assisted in the off-loading
of marijuana from a vehicle in the Dallas, Texas area;

x. Onor about July 15,2012, Octavio MUNIZ aka Tavo assisted in the off-loading
of marijuana from a vehicle in the Dallas, Texas area;

y. On or about July 18, 2012, Arturo RAMIREZ, Jr. aka China gave Eduardo
HERNANDEZ’s aka Lepo cellular telephone number to a confidential source;

z. On or about July 18, 2012, Eduardo HERNANDEZ sent a conspirator deliver
cocaine to a confidential source;

aa. On or about October 19, 2012, Rene Vela aka Gordo told Roberto CORTEZ

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aka Robe that several thousand pounds of marijuana were loaded onto a tractor-
trailer in the Weslaco / Mercedes, Texas area;

On or about October 19, 2012, Roberto CORTEZ told Mike BUENO aka
Mocho that the tractor-trailer contained the marijuana;

On or about October 19, 2012, Mike BUENO aka Mocho contacted unknown
members and associates of the Enterprise to steal the marijuana from the tractor-
trailer;

On or about October 19, 2012, unknown members and associates of the
Enterprise, while in possession of firearms, took the tractor-trailer from the M.
L. M.;

On or about October 19, 2012, a conspirator drove the tractor-trailer to a
property in San Carlos, Texas where approximately 900 kilograms of marijuana
were taken from the trailer;

On or about October 25, 2012, Arturo RAMIREZ, JR. aka China sold cocaine
to a confidential source.

On or about November 2, 2012, Roberto CORTEZ aka Robe directed Roberto

REYES aka Pelon to deliver cocaine to Arturo RAMIREZ, Jr. aka China;

. On or about November 3, 2012, Roberto REYES aka Pelon delivered cocaine

to Arturo RAMIREZ, Jr. aka China;

On or about November 3, 2012, Arturo RAMIREZ, Jr. aka China provided
cocaine to a confidential source;

On or about November 16, 2012, in a telephone, call Arturo RAMIREZ, Jr. aka

China told Mike BUENO aka Mocho that the “trip” contained “360”;

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kk.

ll.

On or about November 16, 2012, in a telephone call, Mike BUENO aka Mocho
told Arturo RAMIREZ, Jr. aka China that if the “stuff” was good he could pick
it up and take it to Arkansas;

On or about November 17, 2012, in a telephone call, Jose Rolando GONZALEZ
aka Rollie told Arturo RAMIREZ, Jr. aka China that he was rounding up

everyone because the tractor-trailer was leaving;

mm. On or about November 17, 2012, in a telephone call, Israel Gonzalez aka

oo.

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tt.

Rayo told Arturo RAMIREZ, Jr. aka China that the tractor-trailer driver was

already in Three Rivers, Texas;

.On or about November 17, 2012, Israel Gonzalez aka Rayo delivered the

marijuana to unknown conspirators in the Dallas, Texas area;

On or about November 17, 2012, Rolando CRUZ aka Party delivered the
marijuana to unknown conspirators in the Dallas, Texas area;

On or about December 6, 2012, Israel Gonzalez aka Rayo recruited co-
defendant Ricardo Ortega to drive a load of marijuana to Houston, Texas;

On or about December 6, 2012, Jose Rolando GONZALEZ aka Rollie told
Roberto CORTEZ aka Robe to call Rene Vela aka Gordo;

On or about December 6, 2012, Roberto CORTEZ aka Robe asked Rene Vela
aka Gordo if conspirators could use his property to load marijuana into a tractor-
trailer;

On or about December 6, 2012, Eduardo HERNANDEZ aka Lepo bought wrap,
tape and grease to package the marijuana;

On or about December 6, 2012, Arturo RAMIREZ, Jr. aka China directed

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Ricardo Ortega to the property of Rene Vela aka Gordo;

uu. On or about December 6, 2012, Octavio MUNIZ aka Tavo loaded the marijuana
into the tractor-trailer;

vv. On or about December 6, 2012, Luis Antonio Saldivar aka Flaco loaded the
marijuana into the tractor-trailer;

ww. On or about December 6, 2012, Hipolito GONZALEZ aka Pollie told
Arturo RAMIREZ, Jr. aka China to pick up boxes and tape;

xx. On or about December 6, 2012, Ernesto Saenz aka Tuerto followed the tractor-
trailer driven by Ricardo Ortega to Houston, Texas;

yy. On or about September 24, 2013, Juan Alberto MENDEZ aka A-1 asked Jose
Rolando GONZALEZ aka Rollie to kill R.G.;

zz. On or about September 24, 2013, Jose Rolando GONZALEZ aka Rollie told
Ernesto Alonzo Ruiz aka Gallito, Octavio MUNIZ aka Tavo and Salomon
ROBLES to kill R. G.;

aaa. On or about September 24, 2013, Octavio MUNIZ aka Tavo conducted
surveillance of R. G.;

bbb. On or about September 24, 2013, Salomon ROBLES drove Emesto Alonzo
Ruiz aka Gallito to the residence of R. G.;

ccc. Onor about September 24, 2013, Ernesto Alonzo RUIZ aka Gallito shot R.
G. with a firearm;

ddd. On or about April 25, 2014, Jose Rolando GONZALEZ aka Rollie told
Pedro Infante aka Rascal to pick up J. G.;

eee. Onor about April 25, 2014, J.G. entered a Chevrolet pickup truck driven by

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Pedro Infante aka Rascal and occupied by Salomon ROBLES;

fff. On or about April 25, 2014, Salomon ROBLES struggled with J.G. inside the
Chevrolet pickup truck;

ggg. Onor about April 25, 2014, Salomon ROBLES hit J.G. with a firearm inside
the Chevrolet pickup truck;

hhh. On or about April 25, 2014, J. G. jumped out of the Chevrolet pickup truck;

iii, On or about April 25, 2014, Juan Alberto MENDEZ aka A-1 followed J. G. in
a motor vehicle;

jjj. On or about April 25, 2014, Ramon DE LA CERDA aka Gizmo chased J. G.
on foot;

kkk. Onor about April 25, 2014, Adrian GARZA chased J. G. on foot;

Ill. On or about April 25, 2014, Ramon DE LA CERDA aka Gizmo shot J. G. with
a firearm;

mmm. On or about August 7, 2014, Arturo RAMIREZ, Jr. aka China called a
confidential source;

nnn. On or about August 7, 2017, Arturo RAMIREZ, Jr. aka China delivered
methamphetamine to a confidential source;

ooo. On or about August 21, 2014, Arturo RAMIREZ, Jr. aka China obtained
methamphetamine from a conspirator;

ppp. On or about August 21, 2014, Arturo RAMIREZ, Jr. aka China called a
confidential source;

qqq. In 2015, Jesus SILVA aka Bola sent marijuana to Sioux Falls, South

Dakota.

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rrr. In 2015, Jesus SILVA aka Bola sent methamphetamine to Sioux Falls, South
Dakota.
sss.On or about January 27, 2015, Jose Rolando GONZALEZ aka Rollie sent
cocaine to Ft. Wayne, Indiana.
ttt. On or about January 27, 2015, Hipolito GONZALEZ aka Pollie sent heroin to
Ft. Wayne, Indiana.
uuu. On or about July 14, 2016, Jose Rolando GONZALEZ aka Rollie sent
methamphetamine to Souix Falls, South Dakota.
vvv. On or about October 19, 2016, Jose Rolando GONZALEZ aka Rollie
packaged cocaine.
www. On or about October 19, 2016, Jose Rolando GONZALEZ aka Rollie
followed a vehicle that contained approximately 27 kilograms of cocaine to the
Falfurrias, Texas border patrol checkpoint.
All in violation of Title 18, United States Code, § 1962(d).
NOTICE OF SPECIAL SENTENCING FACTORS REGARDING COUNT ONE
24. The allegations of Count One of this Third Superseding Indictment are hereby re-
alleged and re-incorporated as though set forth fully herein:
25. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendants
MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
HIPOLITO GONZALEZ aka Pollie

EDUARDO HERNANDEZ aka Lepo
ROLANDO CRUZ aka Party

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JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
ROBERTO REYES aka Pelon
RAMON DE LA CERDA aka Gizmo
RIGOBERTO GARCIA aka Chato
and
ADRIAN GARZA

did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance. The controlled
substance involved was more than 1,000 kilograms of a mixture or substance containing a
detectable amount of marijuana, a Schedule I controlled substance in violation of Title 21, United
States Code, §§ 846, 841(a)(1) and 841(b)(1)(A).

26. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendant

JOSE ROLANDO GONZALEZ aka Rollie

did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance. The controlled
substance involved was more than 5 kilograms of a mixture or substance containing a detectable
amount of cocaine, a Schedule IT controlled substance, in violation of Title 21, United States Code,
§§ 846, 841(a)(1) and 841(b)(1)(A).

27. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendants

ARTURO RAMIREZ, JR. aka China
and
JOSE ROLANDO GONZALEZ aka Rollie

did knowingly conspire and agree together and with other persons known and unknown to the

Grand Jury to intentionally possess with intent to distribute a controlled substance. The controlled

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substance involved was more than 500 grams of a mixture or substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance in violation of Title 21, United
States Code, §§ 846, 841(a)(1) and 841(b)(1)(A).

28. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendants

JOSE ROLANDO GONZALEZ aka Rollie
and
HIPOLITO GONZALEZ aka Pollie

did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance. The controlled
substance involved was more than | kilogram of a mixture or substance containing a detectable
amount of heroin, a Schedule I controlled substance in violation of Title 21, United States Code,
§§ 846, 841(a)(1) and 841(b)(1)(A).

29. On or about July 17, 2009, in Hidalgo County, Texas and the Southern District of Texas
and within the jurisdiction of the Court, defendants

MIKE BUENO aka Mocho

while in the course of committing theft of property and with intent to obtain and maintain control
of the property, did intentionally and knowingly threaten and place M. S. P. and G. P., in fear of
imminent bodily injury or death while using a deadly weapon, to-wit: a firearm, in violation of
Texas Penal Code §§ 29.02, 29.03, 7.01 and 7.02.

30. On or about July 21, 2009, in Hidalgo County, Texas and the Southern District of Texas
and within the jurisdiction of the Court, defendants

MIKE BUENO aka Mocho

and
JESUS SILVA aka Bola

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while in the course of committing theft of property and with intent to obtain and maintain control
of the property, did intentionally and knowingly threaten and place S. S. in fear of imminent bodily
injury or death while using and exhibiting a deadly weapon, to-wit: a firearm, in violation of Texas
Penal Code §§ 29.02, 29.03, 7.01 and 7.02.
31. On or about April 12, 2012, in Hidalgo County, Texas and the Southern District of
Texas and within the jurisdiction of the Court, defendants
MARGIE REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
and
MIKE BUENO aka Mocho

did intentionally and knowingly cause the death of an individual, to-wit: V. S., by shooting said
V.S. with a firearm, in violation of Texas Penal Code §§ 19.02(6)(1), 7.01 and 7.02;

and
did intentionally and knowingly commit and attempt to commit a robbery, and in the course of and
in furtherance of the commission or attempt, or in immediate flight from the commission or attempt
to commit the robbery, committed an act clearly dangerous to human life, shooting V. S. with a
firearm, that caused the death of V. S. in violation of Texas Penal Code §§ 19.02(b)(3), 7.01 and
7.02;

and
did intentionally and knowingly commit and attempt to commit a burglary of a habitation, and in
the course of and in furtherance of the commission or attempt, or in immediate flight from the
commission or attempt to commit the burglary of a habitation, committed an act clearly dangerous
to human life, shooting V. S. with a firearm, that caused the death of V. S. in violation of Texas
Penal Code §§ 19.02(b)(3), 7.01 and 7.02.

32. On or about October 19, 2012, in Hidalgo County, Texas and the Southern District and

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within the jurisdiction of the Court, defendants
MIKE BUENO aka Mocho
and
ROBERTO CORTEZ aka Robe
while in the course of committing theft of property and with intent to obtain and maintain control
of the property, did intentionally and knowingly threaten and place M. L. M. in fear of imminent
bodily injury or death while using and exhibiting a deadly weapon, to-wit: a firearm, in violation
of Texas Penal Code §§ 29.02, 29.03, 7.01 and 7.02.
33. On or about April 25, 2014, in Hidalgo County, Texas and the Southern District of
Texas and within the jurisdiction of the Court, defendants
JOSE ROLANDO GONZALEZ aka Rollie,
RAMON DE LA CERDA aka Gizmo,
SALOMON ROBLES,
JUAN ALBERTO MENDEZ aka A-1
and
ADRIAN GARZA

did intentionally and knowingly cause the death of an individual, to-wit: J. G., by shooting said J.
G. with a firearm in violation of Texas Penal Code §§ 19.02(b)(1), 7.01 and 7.02;

and
did intentionally and knowingly commit and attempt to commit a kidnapping, and in the course of
and in furtherance of the commission or attempt, or in immediate flight from the commission or
attempt to commit the kidnapping, committed an act clearly dangerous to human life, shooting J.
G. with a firearm, that caused the death of J. G. in violation of Texas Penal Code §§ 19.02(b)(3),
7.01 and 7.02.

34. On or about August 7, 2014, in the Southern District of Texas and within the

jurisdiction of the Court, defendant

ARTURO RAMIREZ, JR. aka China,

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did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 50 grams, that is, approximately 483 grams, of
methamphetamine, a Schedule JI controlled substance in violation of Title 21, United States Code,
§§ 841(a)(1), 841(b)(1)(A) and Title 18, United States Code, § 2.

35. On or about August 21, 2014, in the Southern District of Texas and within the
jurisdiction of the Court, defendant

ARTURO RAMIREZ, JR. aka China,

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 50 grams, that is, approximately 971 grams, of
methamphetamine, a Schedule II controlled substance in violation of Title 21, United States Code,
§§ 841(a)(1), 841(b)(1)(A) and Title 18, United States Code, § 2.

36. On or about January 25, 2015, in the Southern District of Texas and within the
jurisdiction of the Court, defendant

JOSE ROLANDO GONZALEZ aka Rollie

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 5 kilograms, that is, approximately 88 kilograms of
a mixture or substance containing a detectable amount of cocaine in violation of Title 21, United
States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18, United States Code, § 2.

37. On or about January 25, 2015, in the Southern District of Texas and within the
jurisdiction of the Court, defendants

JOSE ROLANDO GONZALEZ aka Rollie
and
HIPOLITO GONZALEZ aka Pollie

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did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than | kilogram, that is, approximately 2 kilograms of a
mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance
in violation of Title 21, United States Code, §§ 846, 841(a)(1), 841(b)(1)(A) and Title 18, United
States Code, §2.

38. On or about July 14, 2016, in the Southern District of Texas and within the jurisdiction
of the Court, defendant

JOSE ROLANDO GONZALEZ aka Rollie

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 500 grams, that is, approximately 2.9 kilograms, of
a mixture or substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance in violation of Title 21, United States Code, 88 841(a)(1), 841(b)(1 (A) and
Title 18, United States Code, § 2.

39. On or about October 19, 2016, in the Southern District of Texas and within the
jurisdiction of the Court, defendant

JOSE ROLANDO GONZALEZ aka Rollie

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 5 kilograms, that is, approximately 27 kilograms, of
a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance in violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.
All in violation of Title 18, United States Code, § 1962(d).

COUNT TWO
(Conspiracy to possess with intent to distribute marijuana)

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1. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern District
of Texas and elsewhere and within the jurisdiction of the Court, defendants

MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
HIPOLITO GONZALEZ aka Pollie
EDUARDO HERNANDEZ aka Lepo
ROLANDO CRUZ aka Party
JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
ROBERTO REYES aka Pelon
RAMON DE LA CERDA aka Gizmo
JUAN MARQUEZ aka La Gallina
RIGOBERTO GARCIA aka Chato
and
ADRIAN GARZA

did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance. All the above-
named defendants conspired to possess with intent to distribute more than 1,000 kilograms of a
mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.

In violation of Title 21, United States Code, §§ 846, 841(a)(1) and 841(b)(1)(A).

COUNT THREE
(Conspiracy to possess with intent to distribute cocaine)

1. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendants
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo

ROBERTO CORTEZ aka Robe
and

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ROBERTO REYES aka Pelon
did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance.

2. The amount involved in the conspiracy attributable to defendants ARTURO RAMIREZ,
JR. aka China, EDUARDO HERNANDEZ aka Lepo, ROBERTO CORTEZ aka Robe and
ROBERTO REYES aka Pelon was more than 500 grams of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

3. The amount involved in the conspiracy attributable to defendant JOSE ROLANDO
GONZALEZ aka Rollie was more than 5 kilograms of a mixture or substance containing a
detectable amount of cocaine, a Schedule I controlled substance.

In violation of Title 21, United States Code, §§ 846, 841(a)(1) and 841(b)(1)(A) and (B).

COUNT FOUR
(Conspiracy to possess with intent to distribute methamphetamine)

1. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern

District of Texas and elsewhere and within the jurisdiction of the Court, defendants
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
and
JESUS SILVA aka Bola

did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance.

2. The amount involved in the conspiracy attributable to ARTURO RAMIREZ, JR. aka
China and JOSE ROLANDO GONZALEZ aka Rollie was more than 500 grams of a mixture or

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance.

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3. The amount involved in the conspiracy attributable to JESUS SILVA aka Bola was more
than 50 grams of a mixture or substance containing a detectable amount of methamphetamine, a
Schedule I controlled substance.

In violation of Title 21, United States Code, §§ 846, 841(a)(1) and 841(b)(1)(A) and (B).

COUNT FIVE
(Conspiracy to possession with the intent to distribute heroin)

1. Beginning on or about January 2009 to on or about March 30, 2017, in the Southern
District of Texas and elsewhere and within the jurisdiction of the Court, defendants
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
HIPOLITO GONZALEZ aka Pollie
did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jury to intentionally possess with intent to distribute a controlled substance.

2. The amount involved in the conspiracy attributable to JOSE ROLANDO GONZALEZ
aka Rollie and HIPOLITO GONZALEZ aka Pollie was more than 1 kilogram of a mixture or
substance containing a detectable amount of heroin, a Schedule I controlled substance.

3. The amount involved in the conspiracy attributable to ARTURO RAMIREZ, JR. aka
China was less than 100 grams of a mixture or substance containing a detectable amount of heroin,
a Schedule I controlled substance.

In violation of Title 21, United States Code, §§ 846, 841(a)(1) and 841(b)(1)(A) and (C).

COUNT SIX
(Interference with commerce by robbery)

On or about April 12, 2012, in the Southern District of Texas and within the jurisdiction of
the Court, defendants

MARGIL REYNA, JR. aka Mikeo

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LUIS ALBERTO TELLO aka Wicho
and
MIKE BUENO aka Mocho
did obstruct, delay and affect and attempt to obstruct, delay and affect commerce, as that term is
defined in Title 18, United States Code, Section 1951(b)(3) and the movement of articles and
commodities in such commerce by robbery in that the defendants did unlawfully take and obtain
and attempt to take and obtain a controlled substance, that is, marijuana from the person and in the
presence of V. S. against his will by means of actual and threatened force, violence and fear of
injury, immediate and future, to his person.

In violation of Title 18, United States Code, §§ 1951(a) and 2.

COUNT SEVEN
(Use of a firearm during a drug trafficking crime)

On or about April 12, 2012, in the Southern District of Texas and within the jurisdiction of

the Court, defendants
MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
and
MIKE BUENO aka Mocho

did knowingly and intentionally use, carry, brandish and discharge a firearm, that is, a handgun
and rifle, during and in relation to the drug trafficking crime charged in Count Two, for which they
may be prosecuted in a court of the United States.

In violation of Title 18, United States Code, §§ 924(c)(1)(A), 924(c)(1)(A) (iii) and 2.

COUNT EIGHT
(Use of a firearm during a drug trafficking crime resulting in death)

On or about April 12, 2012, in the Southern District of Texas and within the jurisdiction
of the Court, defendants

MARGIL REYNA, JR. aka Mikeo

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LUIS ALBERTO TELLO aka Wicho
and
MIKE BUENO, aka Mocho
did knowingly and intentionally use, carry, brandish and discharge a firearm, that is, a handgun
and rifle, during and in relation to the drug trafficking crime charged in Count Two, for which they
may be prosecuted in a court of the United States and while in the course of committing the offense
the defendants caused the death of V. S. by shooting him with a firearm and said killing of V. S.
constitutes murder as defined by Title 18, United States Code, § 1111.

In violation of Title 18 United States Code, §§ 924 (c), 924G)(1) and 2.

COUNT NINE
(Possession with intent to distribute cocaine)

On or about May 3, 2012, in the Southern District of Texas and within the jurisdiction of
the Court, defendants
ARTURO RAMIREZ, JR. aka China
and
EDUARDO HERNANDEZ aka Lepo
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 500 grams, that is, approximately 80 grams, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
‘substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United

States Code, § 2.

COUNT TEN
(Possession with intent to distribute cocaine)

On or about June 1, 2012, in the Southern District of Texas and within the jurisdiction of

the Court, defendants

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ARTURO RAMIREZ, JR. aka China

EDUARDO HERNANDEZ aka Lepo
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 500 grams, that is, approximately 80 grams, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United

States Code, § 2.

COUNT ELEVEN
(Possession with intent to distribute heroin)

On or about June 1, 2012, in the Southern District of Texas and within the jurisdiction of
the Court, defendant
ARTURO RAMIREZ, JR. aka China
and
HIPOLITO GONZALEZ aka Pollie
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 100 grams, that is, approximately 28 grams, of a
mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United

States Code, § 2.

COUNT TWELVE
(Possession with intent to distribute heroin)

On or about June 29, 2012, in the Southern District of Texas and within the jurisdiction
of the Court, defendant

ARTURO RAMIREZ, JR. aka China
and

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HIPOLITO GONZALEZ aka Pollie
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 100 grams, that is, approximately 60 grams, of a
mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United
States Code, § 2.

COUNT THIRTEEN
(Possession with intent to distribute cocaine)

On or about July 18, 2012, in the Southern District of Texas and within the jurisdiction of
the Court, defendants
ARTURO RAMIREZ, JR. aka China
and
EDUARDO HERNANDEZ aka Lepo
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 500 grams, that is, approximately 80 grams, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United

States Code, § 2.

COUNT FOURTEEN
(Interference with commerce by robbery)

On or about October 19, 2012, in the Southern District of Texas and within the jurisdiction
of the Court, defendants
MIKE BUENO aka Mocho

and
ROBERTO CORTEZ aka Robe

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did obstruct, delay and affect commerce, as that term is defined in Title 18, United States Code,
Section 1951(b)(3), and the movement of articles and commodities in such commerce by robbery
in that the defendants did unlawfully take and obtain a controlled substance, that is, marijuana
from the person and in the presence of M. L. M. against his will by means of actual and threatened
force, violence and fear of injury, immediate and future, to his person.

In violation of Title 18, United States Code, §§ 1951(a) and 2.

COUNT FIFTEEN
(Use of a firearm during a drug trafficking crime)

On or about October 19, 2012, in the Southern District of Texas and within the jurisdiction

of the Court, defendants
MIKE BUENO aka Mocho
and
ROBERTO CORTEZ aka Robe

did knowingly and intentionally use, carry and brandish a firearm, that is, a rifle, during and in
relation to the drug trafficking crime charged in Count Two, for which they may be prosecuted in
a court of the United States.

In violation of Title 18, United States Code, §§ 924(c)(1)(A), 924(c)(1)(A)(ii) and § 2.

COUNT SIXTEEN
(Possession with intent to distribute cocaine)

On or about November 16, 2012, in the Southern District of Texas and within the
jurisdiction of the Court, defendants
ARTURO RAMIREZ, JR. aka China
ROBERTO CORTEZ aka Robe
and
ROBERTO REYES aka Pelon

did knowingly and intentionally possess with intent to distribute a controlled substance. The

controlled substance involved was less than 500 grams, that is, approximately 103 grams, of a

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mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United
States Code, § 2.

COUNT SEVENTEEN
(Possession with intent to distribute marijuana)

On or about December 7, 2012, in the Southern District of Texas and within the jurisdiction
of the Court, defendants
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo
HIPOLITO GONZALEZ aka Pollie
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
and
ROBERTO REYES aka Pelon
did knowingly and intentionally possessed with intent to distribute a controlled substance. The
controlled substance involved was more than 100 kilograms, that is, approximately 103 kilograms,
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance,
In violation of Title 21, United States Code, § 841(a)(1), 841(b)(1)(B) and Title 18, United
States Code, § 2.

COUNT EIGHTEEN
(Attempted Murder in Aid of Racketeering)

1. At all times relevant to this Third Superseding Indictment, the Tri-City Bombers gang,
as more fully described in paragraphs | through 19 and 22 of Count One which are re-alleged and

re-incorporated by reference as though fully set forth herein, including its leaders, members and

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associates constituted an Enterprise as defined in Title 18, United States Code, § 1959(b)(2), that
is, a group of individuals associated in fact that engaged in, and the activities of which affected,
interstate and foreign commerce. The Enterprise constituted an ongoing organization whose
members functioned as a continuing unit for a common purpose of achieving the objectives of the
Enterprise.

2. At all times relevant to this Third Superseding Indictment, the Enterprise, namely, the
Tri-City Bombers, through its members and associates, engaged in racketeering activity as defined
in Title 18, United States Code, §§ 1959(b) and 1961(1), namely acts involving murder,
kidnapping and robbery in violation of the laws of the state of Texas; offenses involving dealing
in controlled substances in violation of Title 21, United States Code, §§ 841 and 846; and acts
indictable under Title 18, United States Code, § 1951 (interference with commerce by robbery).

3. On or about September 24, 2013, in Hidalgo County, Texas and the Southern District of
Texas and within the jurisdiction of the Court, defendants

JOSE ROLANDO GONZALEZ aka Rollie

OCTAVIO MUNIZ aka Tavo
SALOMON ROBLES
and
JUAN ALBERTO MENDEZ aka A-1

for the purpose of gaining entrance to and maintaining and increasing position in the Tri-City
Bombers gang, an Enterprise engaged in racketeering activity, did attempt to murder R. G. in
violation of Texas Penal Code §§ 19.02(b)(1), 15.01(a), 7.01 and 7.02

In violation of Title 18, United States Code, §§ 1959(a)(5) and 2.

COUNT NINETEEN
(Murder in Aid of Racketeering)

1. At all times relevant to this Third Superseding Indictment, the Enterprise, namely, the

Tri-City Bombers gang, as more fully described in paragraphs | through 19 and 22 of Count One

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which are re-alleged and re-incorporated by reference as though fully set forth herein, including
its leaders, members and associates constituted an Enterprise as defined in Title 18, United States
Code, § 1959(b), that is, a group of individuals associated in fact that engaged in, and the activities
of which affected, interstate and foreign commerce. The Enterprise constituted an ongoing
organization whose members functioned as a continuing unit for a common purpose of achieving
the objectives of the Enterprise.

2. At all times relevant to this Third Superseding Indictment, the Enterprise, namely, the
Tri-City Bombers, through its members and associates, engaged in racketeering activity as defined
in Title 18, United States Code, §§ 1959(b) and 1961(1), namely acts involving murder,
kidnapping and robbery in violation of the laws of the state of Texas; offenses involving dealing
in controlled substances in violation of Title 21, United States Code, §§ 841 and 846; and acts
indictable under Title 18, United States Code, § 1951 (interference with commerce by robbery).

3. On or about April 25, 2014, in Hidalgo County, Texas and the Southern District of Texas
and within the jurisdiction of the Court, defendants

JOSE ROLANDO GONZALEZ aka Rollie
RAMON DE LA CERDA aka Gizmo
SALOMON ROBLES
JUAN ALBERTO MENDEZ aka A-1
And
ADRIAN GARZA

for the purpose of gaining entrance to and maintaining and increasing position in the Tri-City
Bombers gang, an Enterprise engaged in racketeering activity, murdered J. G. in violation of Texas
Penal Code §§ 19.02(b)(1), 19.02(b)(3), 7.01 and 7.02;

In violation of Title 18, United States Code, §§ 1959(a)(1) and 2.

COUNT TWENTY
(Kidnapping)

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On or about April 25, 2014, in Hidalgo County, Texas and the Southern District of Texas
and within the jurisdiction of the Court, defendants
JOSE ROLANDO GONZALEZ aka Rollie
RAMON DE LA CERDA aka Gizmo
SALOMON ROBLES
JUAN ALBERTO MENDEZ aka A-1
and
ADRIAN GARZA
did unlawfully and willfully seize, confine, inveigle, decoy, kidnap, abduct, and carry away J. G.,
and hold for ransom, reward or otherwise and in committing the offense or in furtherance of the
commission of the offense used a means, facility or an instrumentality of interstate and foreign
commerce, namely, a Chevrolet pickup truck, and that during the commission of the offense the
death of a person resulted, namely, J. G.

In violation of Title 18 United States Code, Section 1201(a)(1) and 2.

COUNT TWENTY-ONE
(Possession with intent to distribute methamphetamine)

On or about August 7, 2014, in the Southern District of Texas and within the jurisdiction

of the Court, defendant
ARTURO RAMIREZ, JR. aka China

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 50 grams, that is, approximately 483 grams, of
methamphetamine, a Schedule II controlled substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-TWO
(Possession with intent to distribute methamphetamine)

On or about August 21, 2014, in the Southern District of Texas and within the jurisdiction

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of the Court, defendant
ARTURO RAMIREZ, JR. aka China
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 50 grams, that is, approximately 971 grams, of
methamphetamine, a Schedule II controlled substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-THREE
(Possession with intent to distribute cocaine)

On or about January 25, 2015, in the Southern District of Texas and within the jurisdiction

of the Court, defendants
JOSE ROLANDO GONZALEZ aka Rollie

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 5 kilograms, that is, approximately 88 kilograms of
a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-FOUR
(Possession with intent to distribute heroin)

On or about January 25, 2015, in the Southern District of Texas and within the jurisdiction
of the Court, defendants
JOSE ROLANDO GONZALEZ aka Rollie

and
HIPOLITO GONZALEZ aka Pollie

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did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than | kilogram, that is, approximately 2 kilograms of a
mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-FIVE
(Possession with intent to distribute methamphetamine)

On or about July 14, 2016, in the Southern District of Texas and within the jurisdiction of

the Court, defendant
JOSE ROLANDO GONZALEZ aka Rollie

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 500 grams, that is, approximately 2.9 kilograms, of
a mixture or substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-SIX
(Possession with intent to distribute cocaine)

On or about October 19, 2016, in the Southern District of Texas and within the jurisdiction
of the Court, defendant
JOSE ROLANDO GONZALEZ aka Rollie
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 5 kilograms, that is, approximately 27 kilograms, of

a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

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substance.
In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(A) and Title 18,
United States Code, § 2.

COUNT TWENTY-SEVEN
(Possession with intent to distribute cocaine)

On or about April 5, 2017, in the Southern District of Texas and within the jurisdiction of

the Court, defendant
ROBERTO CORTEZ aka Robe

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was less than 500 grams, that is, approximately 433 grams, of a
mixture or substance containing a detectable amount of cocaine, a Schedule IJ controlled
substance.

In violation of Title 21, United States Code, §§ 841(a)(1), 841(b)(1)(C) and Title 18, United
States Code, § 2.

COUNT TWENTY-EIGHT
(Felon in possession of a firearm)

On or about April 5, 2017, in the Southern District of Texas and within the jurisdiction of
the Court, defendant
ROLANDO CRUZ aka Party
previously having been convicted in the 138" Judicial District Court of Cameron County, Texas,
on March 23, 1993, for the felony offense of Aggravated Robbery, in Cause Number 92-CR-1715-
B, a crime punishable by imprisonment for a term exceeding one year, did knowingly and
unlawfully possess in and affecting interstate commerce a firearm, namely, a handgun, .22mm in

caliber, serial number E151576.

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In violation of Title 18, United States Code, Sections 922(g)(1) and 924 (a)(2).

NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 1963)

Pursuant to Title 18, United States Code, Section 1963, the United States gives notice to

the defendants,

MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo
HIPOLITO GONZALEZ aka Pollie
ROLANDO CRUZ aka Party
JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
RAMON DE LA CERDA aka Gizmo
SALOMON ROBLES
JUAN ALBERTO MENDEZ aka A-1
and
ADRIAN GARZA

that in the event of conviction of an offense, Count One, in violation of Title 18, United States
Code, Section, 1962, the following property, whether real or personal, is subject to forfeiture to
the United States:

1. all interest acquired or maintained in violation of 18 U.S.C. § 1962;

2. allinterest in, securities of, claims against, or property or contractual rights of any kind
affording a source of influence over any enterprise established, operated, controlled,
conducted, or participated in the conduct of, in violation of 18 U.S.C. § 1962; and

3. all property constituting, or derived from, any proceeds obtained, directly or indirectly,

from racketeering activity in violation of 18 U.S.C. § 1962.

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NOTICE OF CRIMINAL FORFEITURE
(21 U.S.C. § 853)

Pursuant to Title 21, United States Code, Section 853, the United States gives notice to the

defendants,

MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo
HIPOLITO GONZALEZ aka Pollie
ROLANDO CRUZ aka Party
JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
ROBERTO REYES aka Pelon
RAMON DE LA CERDA aka Gizmo
JUAN MARQUEZ aka La Gallina
RIGOBERTO GARCIA aka Chato
and
ADRIAN GARZA

that in the event of conviction of an offense in violation of Title 21, United States Code, Sections

841 or 846, the following property, whether real or personal, is subject to forfeiture to the United

States:

1. all property constituting, or derived from, all proceeds obtained, directly or
indirectly, as a result of such offense; and
2. all property used, or intended to be used, in any manner or part, to commit, or

to facilitate the commission of, such offense.

NOTICE OF FORFEITURE
18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c)

Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c), the United States gives notice to the defendants,

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MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
and
ROBERTO CORTEZ aka Robe

that in the event of conviction of an offense in violation of Title 18, United States Code, Section

1951, all property, real or personal, which constitutes or is derived from proceeds traceable to such

offense, is subject to forfeiture to the United States.

NOTICE OF FORFEITURE
18 U.S.C. § 924(d); 28 U.S.C. § 2461(c)

Pursuant to Title 18, United States Code, Section 924(d)(1), and Title 28, United States
Code, Section 2461(c), the United States of America hereby gives notice to the defendants,

MARGIL REYNA, JR. aka Mikeo
LUIS ALBERTO TELLO aka Wicho
MIKE BUENO aka Mocho
ARTURO RAMIREZ, JR. aka China
JOSE ROLANDO GONZALEZ aka Rollie
EDUARDO HERNANDEZ aka Lepo
HIPOLITO GONZALEZ aka Pollie
ROLANDO CRUZ aka Party
JESUS SILVA aka Bola
OCTAVIO MUNIZ aka Tavo
ROBERTO CORTEZ aka Robe
ROBERTO REYES aka Pelon
. RAMON DE LA CERDA aka Gizmo
- SALOMON ROBLES
RIGOBERTO GARCIA aka Chato
JUAN ALBERTO MENDEZ aka A-1
and
ADRIAN GARZA

that, in the event of conviction of a violation charged in this Superseding Indictment, all firearms
and ammunition involved in or used in the violation and all firearms and ammunition intended to

be used in a crime of violence or an offense in violation of Title 21, United States Code, Sections

841 or 846 are subject to forfeiture to the United States.

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Property Subject to Forfeiture

The property subject to forfeiture includes, but is not limited to, the following:
1. 14k yellow and white gold 16.5” necklace with diamonds and 32 sapphires; and
2. 18k yellow gold men’s Rolex Oyster Perpetual Day Date wristwatch with
diamond dial.
The United States may seek the imposition of a money judgment. In the event that a
condition listed in Title 21, United States Code, Section 853(p) or Title 18, United States Code,
Section 1963(m) exists, the United States will seek to forfeit any other property of the defendants

in substitution up to the total value of the property subject to forfeiture.

A TRUE BILL

ORIGINAL SIGNATURE ON FILE

FOREPERSON ,

RYAN K. PATRICK

    

ALA

Casey N. MacDonald

ON States Attorney
Nicholag’Regalj
Nichole Reade Ce

Organized Crime and Gang Section
United States Department of Justice

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